
347 So.2d 503 (1977)
LEE LUMBER COMPANY, LTD.
v.
INTERNATIONAL PAPER COMPANY.
No. 59993.
Supreme Court of Louisiana.
June 29, 1977.
*504 Application denied; because the facts relied on by the court of appeal show serious consideration, the result reached is correct.
SUMMERS, J., concurs in the denial of writs, being of the opinion the result is correct.
TATE, J., dissents from the denial of this applicant: The majority has found facts justifying a holding of serious consideration, never passed upon by the previous courts. The majority thus does not reach the issue posed by the court of appeal holding, 321 So.2d 42 (La.App. 3rd Circuit, 1975), that actions to declare a null lease are prescribed by Civil Code Articles 2221, 3542. This court should have granted writs to decide this important issue, which in my opinion was incorrectly decided below.
CALOGERO, J., is of the opinion the writ should be granted.
